Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 1 of 11



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 14-20072-CIV-KING
                                        (09-20264-CR-KING)
                                                                                                       FILED by_j_ _ O.C.
   NIKO THOMPSON,
        Petitioner,                                                                               ,
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                                                                                                                                   ~.-'




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   v.                                                                                         I STEVE.N fv1. LAR. IMOR'=
                                                                                                 CLERi< U S. DlST:                     ct
                                                                                             ~-=-.s D_'~ :C:!...A - MIAMI.
   UNITED STATES OF AMERICA,                                                                                      - ---·--- --'t..--..

   _______________________!
        Respondent.


          PETITIONER'S MOTION FOR RELIEF FROM JUDGMENT PURSUANT TO
         FED.R.CIV.PRO. RULE 60(b) & INCORPORATED MEMORANDUM OF LAW

           COMESNOW,        Niko        Thompson          ("Petitioner")              pro-se,                  in              the

   above styled cause,             and respectfully moves this Honorable Court

   for    relief     from     judgment          pursuant          to    Federal           Rules          of             Civil

   Procedure        Rule     60(b)(2),          (3),        and    (6).        In     support                thereof,

   states the following:

                                               JURISDICTION

            Rule 60(b)        provides          that,       on    motion        and       just          terms,                   the

    court    may     relieve       a     party       or     its    legal        representation                                from

    a     final     judgment,          order,        or     proceeding              for     the              following
    reasons •••        (2)     newly           discovered              evidence •.•                    (3)            fraud,
    misrepresentation,             or    other misconduct                 of    an    adverse                 party •..

    (6)    any     other reason          justifying relief                  from      the    operation of
   the judgment.

                                                TIMELINESS

           The     motion     shall       be    made        within      a      reasonable                time,                  and

   for     reasons     (2)     & (3)            not       more     than        one        year          after                  the
                                          '
   judgment, order, or proceeding was entered or taken. This 60(b)

   motion     is    timely     because          it     is    being        filed       within                 one             year


                                                      -1-
1
         Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 2 of 11



             of    Petitioner     obtaining             newly       discovered           evidence       of       either

             his     counsel's         and/or            government's                 misrepresentation              or

             misconduct during his §2255 proceeding.

                                                  PROCEDURAL HISTORY
                    Petitioner        filed       his     initial          §2255        motion       [Cv-DE        #1],

            and     amendment      thereto          [Cv-DE          #4].        The     Government          filed     a

            Response to Petitioner's §2255 motion.

                    Magistrate Judge Patrick A.                      White conducted a                evidentiary

            hearing,       and        issued        a     Report           and         Recommendation              that

            Petitioner's       motion        be    denied       [Cv       DE     #28].       Over    Petitioner's

            Objections     this       Court       adopted           the    Magistrate             Judge's    R&R     in

            its entirety and denied Petitioner's §2255 motion.

                                                         ARGUMENT
                    Here   Petitioner          asserts          that       this        Court       should        reopen

            the     judgment     on     Petitioner's            initial           §2255       motion        pursuant

            to     Fed.R.Civ.P.       Rule     60(b).         Specifically,              asserting      that        the

            government           and/ or           his          counsel                committed             "fraud,

            misrepresentation,           or       misconduct"             under       Rule        60(b)(3),       when

            they asserted in the initial §2255 case that Petitioner's prior
    ~·
            conviction     in case         number        F97-34123             was     for    a    "guilty       plea"

            and not a "no contest plea" as Petitioner had stated.                                            See [DE

            #28:24]. However, this contention by counsel and the government

            was     disingenuous.       See       copy    of    State          Court's       Order     reflecting

            that    Petitioner        plea     was       in    fact       was     for    "no       contest"       with

            adjudication         withheld,         as     Petitioner             had      maintain          it    was,

            attached as Exhibit "A".



                                                              -2-
'·Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 3 of 11




                  Thereby,            Pe~itioner                 further               asserts                that            this

    misrepresentation                      created          a    defect          in     the       integrity              of    the

       initial          collateral              proceeding,               and     thus,           the     Court          should

    revisit             that    judgment.              See      e.g.        SCOTT       v.    UNITED           STATES,          81

    F.Supp. 3d 1326 (M.D. Fla, 2015).

              The        Supreme           Court        has      provided             instruction              on     how       to

    construe prisoners' claim under Rule 60. See GONZALEZ v. CROSBY,

    545 U.S.             524    ( 2005).         If the Rule              60 motion seeks to add a                             new

    ground          for       relief        from       the      underlying            conviction,              or    attacks

    the       district          court's              resolution            of    an     initial           §2255          motion

    on    the       merits,           then       a     court        should        consider           the       Rule        60(b)

   motion           a    "second           or    successive"              motion        to        vacate.       But        "when

   a Rule 60(b)                motion attacks,                   not      the     substance of the federal

   court's              resolution          of        claim      on       the     merits,          but        some       defect

    in the          integrity of                 the    federal           habeas        proceedings,"                a     court

   should not consider the Rule                                  60(b)          motion       to    be     a    "second          or

   successive" motion to vacate. Id.

              Here, Petitioner                   does       not attempt               to add a           new claim for

   relief,              nor    does    he        challenge            the       Court's           reasoning          for       its

    decision on the                   initial          motion to               vacate.       Instead,           Petitioner

   asserts              that    either           the     government              and/or           his     counsel             made

   misrepresentations                       to        the       court          during        his         initial          §2255

   proceeding,                which        was    that        his        plea    in     case       number        F97-34123

   was        a     guilty       plea,           instead            of     a     plea        of     no        contest,          as

   maintained by Petitioner,                             when        in fact,           Petitioner's plea was

   a     no        contest        plea.           See       Exhibit            "A"     attached.              Thus,           this

   mispresentation                    by        the     government              and/or        counsel            corrupted

                                                                 -3-
Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 4 of 11




   ·the Court's            judgment on             his       ineffective          assistance of                counsel

    claim.

    The merits of Petitioner's Rule 60(b)(3) motion.

              To succeed on a                Rule       60(b)(3)          motion,       a   party must prove

    by clear and convincing evidence that the adverse party obtained

    the       verdict           through,           fraud,           misrepresentation,                    or      other

   misconduct.             See       FREDERICK          v.    KIRBY TANKSHIPS,                   INC.,     205         F.3d

    1277,       1287       (11th       Cir.        2000).          Additionally,            the     movant             must

    show "that            the conduct          prevented             the    losing          party        from     fully

   and        fairly       presenting          his        case       of    defense."             FREDERICK,             205

   F.3d       at    1287.          However,        Rule       60(b)(3)          "does       not    require             that

   the    information                withheld       be        of    such    nature          as    to      alter         the

   results          in    the case."          See ROZIER v.                FORD MOTOR             CO. ,    57 3        F. 2 d

   1332       (5th       Cir.      1978).     More           importantly,         misrepresentation                     and

   misconduct are                separate grounds                  for relief under Rule                    60(b) (3)

   apart       from       fraud,       and    neither          necessitates              showing          purposeful

   misconduct            or     malice.       See        UNITED       STATES        v.      ONE     (1)        DOUGLAS

   A-26B AIRCRAFT, 662 F.2d 1372, 1375 n.6 (11th Cir. 1981).

              Applying the            law to        this       case,       Petitioner's            asserts         that

   he     has       shown       by    clear        and       convincing          evidence          that,        during

   his    initial          §2255       proceeding,             that       the    government            and/or           his

   counsel          inaccurately            represented             that     his    prior         plea      in     case

   number          F9 7-34123        was     for    a        plea    of    gui 1 ty,        instead        of      a     no

   contest          plea      as     was    maintain           by    Petitioner,            and     prove         to     be

   a     no     contest            plea,      as     verified             and      correctly             stated           in

   Petitioner's             State      Court's           Order       denying        him      Post         Conviction

   Relief. See Exhibit "A" attached.


                                                         -4-
Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 5 of 11




          Therefore,        the       only     remaining         question       is        whether       the

    misrepresentation            prevented          Petitioner      from       fully       and     fairly

    presenting his case for post-conviction relief. Here,                                   Petitioner

    asserts   that      this misrepresentation                  prohibited          him     from    fully

    presenting      his     claim      of     counsel      deficient         performance           during

    his plea negotiations, and/or from presenting a claim of actual

    innocence     of      his    ACCA,       and     establishing        his        sentence       of   15

    years exceeds the statutory maximum sentence allowed by statute,

    which if left alone would be a miscarriage of justice.

          Thus,     had         the    government          and/or       Petitioner's             counsel

    accurately    represented            that       his   plea    was    a     no    contest        plea,

    it   is   likely      the     Court       would       not    have    denied           Petitioner's

    initial     §2255       motion,         without       amending       his         ACCA     enhanced

    sentence. Thereby, Petitioner asserts that he has met his burden

    of    showing         that        the     government          and/or            his      counsel's

    misrepresentation prevented him from fully and fairly presenting

    his case for post-conviction relief.

          In sum,      Petitioner has              successfully shown               that the        Order

    denying his        initial        §2255    motion,      was     obtained         as    the     result

    of misrepresentation, and that Order should therefore be vacated

   and the case reopened, pursuant to Rule 60(b)(3).




                                                   -5-
Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 6 of 11




                                    CONCLUSION

         WHEREFORE,    Petitioner    prays    this   Court   grant   the    instant

    Rule 60(b) motion,     and vacate      the denial    of Petitioner's      §2255

    motion,   and   given any   other re 1 ie f   this   Court   deems     just   and

    proper.



                                                  Respectfully Submitted,



                                                                      PRO-SE




                                     -6-
Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 7 of 11




                                        DECLARATION OF DEPOSIT
            I    hereby       verify     and    affirm         under     the    penalty         of     perjury,

 pursuant          to    Title    28 U.S.C.         §1746,       that Petitioner's              Fed.R.Civ.P

 Rule 60(b)             motion,        which   pursuant         to     HOUSTON v.       LACK,        487    U.S.

 266    (1988),          is   deemed      to be      filed       at    the    time   it was          delivered

 to    prison           authority       for    forwarding         to    the    court.       I    placed      the

 above          reference      material        in    a    sealed       envelope      with       First      Class

 Postage affixed, addressed to:

 CLERK OF THE COURT
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF FLORIDA
 400 NORTH MIAMI AVENUE
 MIAMI, FLORIDA 33128



 and deposited             the    envelope      in       the   proper prison authority's                   hand

 to    be       delivered        for    collection         and       mailed    via    the       U.S.    Postal

 Service on this              ~day        of October,          2016.


                                                                        Respectfully Submitted



                                                                        NIKO    OMSON            PRO-SE




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'·       Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 8 of 11




                                          EXHIBIT "A"
                                     STATE COURT'S ORDER
   Case
    ,J
        1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 9 of 11




                IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                        IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      STATE OF FLORIDA,
                    Plaintiff,
                                                            Case No. F97-34123
                                                            Section No. 7
                                                                                           FILED
      vs.                                                   Judge Miranda
                                                                                             AUG 1 0 2016
-~-lho~~~.---------------------------------------~--------------~~
                    Defendant

                   ORDER DENYING MOTION FOR POST CONVICTION RELIEF



              THIS CAUSE having come before this Court on the defendant, Niko Thompson's motion
      and this Court having reviewed the motion, the court files and records in this case, and being
      otherwise fully advised in the premises therein, hereby denies the defendant's motion on the
      following grounds:
      The defendant pled no contest to the charge of Aggravated Assault with a Deadly Weapon and
      Battery on February 24, 1999.       The defendant received a withhold of adjudication and was
      sentenced to one year of reporting probation. Seventeen years later the defendant files this motion
      to vacate his plea under Florida Rule of Criminal Procedure 3.850.
            The defendant alleges newly discovered evidence and has attached to his motion an affidavit
      of the victim in the case. The Florida Supreme Court has held that in reviewing a postconviction
      claim of newly discovered evidence, a trial court is required to consider all newly discovered
      evidence which would be admissible at trial and then evaluate the weight of both the newly
      discovered evidence which would be admissible at trial and the evidence which was introduced at
      trial Kokal v. State, 901 So.2d 766 (Fla. 2005). To obtain relief on a claim of newly discovered
      evidence, the defendant must demonstrate: (1) that the newly discovered evidence was unknown to
      the defendant or his counsel at the time of trial and could not have been discovered through due
      diligence and : (2) that the evidence is of such a nature that it would probably produce an acquittal
      upon retrial. See Mills v. State, 786 So.2d 547, 549 (Fla 2001); Jones v. State, 709 So.2d 512, 521
      (Fla 1998). In reviewing the affidavit, the victim does not state why she is providing this
      information now- seventeen years later. There is no explanation in the defendant's motion of how
      this communication arose or what efforts were made to obtain this information sooner. Regardless,
      the affidavit itself certainly does not lay out evidence that would probably produce an acquittal upon
     Case 1:16-cv-24702-JLK Document 1 Entered on FLSD Docket 11/10/2016 Page 10 of 11



            retrial. The victim clearly states that on September 7, 1997, the defendant tried to run her over with
            his vehicle "several times" and assaulted her. At best the a:ffidavit states that she may have "over
            exaggerated" the incident but never avers it didn't happen or who was the party involved.
                    Lastly, since this case involved a plea rather than a trial, the Supreme Court in Williams,
            held that a defendant shoUld be allowed to withdraw a guilty or nolo contendere plea when the
            defendant proves the withdrawal is necessary to correct a manifest injustice. Williams v. State,
            316 So.2d 267 (Fla. 1975). The burden to prove a manifest injustice is placed on the defendant.
                    Since the victim's affidavit confirms confirms that the defendant committed the crimes he
            pled to under either the Jones or Williams standard, the defendant fails to meet his burden.


                   ORDERED AND ADJUDGED that the Defendant's motion is hereby DENIED.

                  The defendant, Niko Thompson, is hereby notified that he has the right to appeal this order to
           the District Court of Appeal of Florida, Third District within thirty (30) days of the signing and
           filing of this order.
                 In the event that the defendant takes an appeal of this order, the Clerk of this Court is hereby
           ordered to transport, as part of this order, to the appellate court the following:
                 1. Motion for Post Conviction Relief.
                 2. State's response.



                                                                                                   1
                                                                                                    jr;t'---



           cc: Lara H. Penn
I CERTIFY that a copy of this order has been fwn.ishedto
the~VANT,Niko Thompson by
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